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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                             Case No. 16-cv-60823-BLOOM/Valle

 ARCARE,
 d/b/a Parkin Drug Store,

        Plaintiff,

 v.

 MEDICAL DISCOUNT SERVICES, INC.,

       Defendant.
 _____________________________________/

                                FINAL ORDER OF DISMISSAL

        THIS CAUSE is before the Court upon Plaintiff’s Notice of Voluntary Dismissal With

 Prejudice, ECF No. [14]. The Court having considered the Notice and being otherwise duly

 informed therein, it is

        ORDERED AND ADJUDGED that Plaintiff’s Notice of Voluntary Dismissal, ECF No.

 [14], is approved and adopted, and the matter is DISMISSED WITH PREJUDICE. To the

 extent not otherwise disposed of, all pending motions are DENIED as moot. The CLERK is

 directed to CLOSE this case.

        DONE AND ORDERED in Miami, Florida, this 9th day of August, 2016.




                                                 BETH BLOOM
                                                 UNITED STATES DISTRICT JUDGE

 Copies to:

 Counsel of Record
